              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:07-cr-00033-MR-DLH-3


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )             ORDER
                                )
JEANNIE LARGENT COSBY,          )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s “Motion under

28 U.S.C. Section 5555 [sic], Amendment 794 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody” [Doc. 576], which the

Court construes as a motion for a reduction of sentence pursuant to 18

U.S.C. § 3582(c)(2) and Amendment 794.

      On June 7, 2007, the Defendant pleaded guilty pursuant to a written

plea agreement to conspiracy to possess with intent to distribute crack

cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1). The Defendant was

determined to be a career offender and was sentenced on October 31, 2007

to a term of 168 months’ imprisonment. [Doc. 185]. The Defendant did not

file a direct appeal.



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        In motions filed on July 5 and July 25, 2016, respectively, the

Defendant moved pursuant to 18 U.S.C. § 3582(c)(2) to reduce her sentence

based on Amendment 794 of the United States Sentencing Guidelines.

[Docs. 573, 574]. The Court denied those motions on July 26, 2016. [Doc.

575].

        On August 18, 2106, the Defendant filed the present motion pursuant

to “28 U.S.C. § 5555 [sic],” again seeking relief pursuant to Amendment 794.

For the reasons stated in the Court’s prior Order [Doc. 575], the Defendant’s

request for relief under Amendment 794 is denied.

        To the extent that the Defendant seeks relief pursuant to 28 U.S.C. §

2255, her motion is also subject to dismissal as an unauthorized, successive

petition. See, e.g, In re Vial, 115 F.3d 1192, 1194 (4th Cir. 1997) (en banc);

United States v. Winestock, 340 F.3d 200, 205 (2003).

        The Court finds that Petitioner has not made a substantial showing of

a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2); see

also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy §

2253(c), a “petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong”)

(citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner has failed

to demonstrate both that this Court’s dispositive procedural rulings are

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debatable, and that the Motion to Vacate states a debatable claim of the

denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85

(2000). As a result, the Court declines to issue a certificate of appealability.

See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

“Motion under 28 U.S.C. Section 5555 [sic], Amendment 794 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody” [Doc. 576],

which the Court construes as a motion for a reduction of sentence pursuant

to 18 U.S.C. § 3582(c)(2) and Amendment 794, is DENIED.

      IT IS FURTHER ORDERED that, to the extent that the Defendant

attempts to seek relief under 28 U.S.C. § 2255, the Defendant’s Motion [Doc.

576] is DISMISSED as an unauthorized, successive petition, and the Court

declines to issue a certificate of appealability.

      IT IS SO ORDERED.
                                 Signed: August 22, 2016




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